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                  IN THE UNITED STATES DISTRICT COURT
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                       FORTHE DISTRICT OF MONTANA                               '   2016
                                   MISSOULA DIVISION                    C^&So^Co0,
 UNITED STATES OF AMERICA,
                                                       CR-16-27-M-DLC

                      Plaintiff,
                                                        FINDINGS AND
                                                    RECOMMENDATION
        vs.
                                                     CONCERNING PLEA

 MATTHEW BROWNE,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of possession with intent to

distribute five kilograms or more of a substance containing a detectable amount of

cocaine in violation of 21 U.S.C. § 841(a)(1) (Count II), as set forth in the

Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss Counts I and III of the Indictment.


      After examining the Defendant under oath, I have made the following

determinations:


      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,


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